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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Andrea Goldblum,                                :
                                                :
               Plaintiff,                       :       Case No. 1:19-cv-398
                                                :
v.                                              :       Judge Dlott
                                                :
University of Cincinnati,                       :       Magistrate Judge Bowman
                                                :
               Defendant.                       :


     STIPULATED EXTENSION OF TIME TO ANSWER PLAINTIFF’S COMPLAINT

       Pursuant to S.D. Ohio Civ. R. 6.1, Defendant University of Cincinnati and Plaintiff, by

and through counsel, hereby stipulate that Defendant shall have an additional 14 days up to and

including November 18, 2019 to reply, plead or otherwise move in response to Plaintiff’s

Complaint (Doc. 1). Defendant has not received any prior stipulated extensions to respond to the

Complaint, and the total stipulated extensions of time do not exceed 21 days.

                                             Respectfully submitted,

                                             DAVE YOST (0056290)
                                             Ohio Attorney General

                                             s/ Reid T. Caryer
                                             _________________________________
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                                            Counsel for Defendant


                                            s/ Joshua Adam Engel per 11/1/19 phone authority
                                            _____________________________________
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                                            Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was filed electronically on November 1, 2019. Notice
of this filing will be sent to all parties by operation of the Court’s electronic filing system.
Parties may access this filing through the Court’s systems.

                                            s/ Reid T. Caryer
                                            _____________________________
                                            REID T. CARYER (0079825)
                                            Assistant Attorney General




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